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Attorneys for liquidating Trustee
Randy Sugarman

UNITED STATES BANKRUPTCY COURT
NORTHERN DlSTRICT OF CALIFORNIA

ln re Case No. 16-30063 DM
YELLOW CAB COOPERATIVE, INC., Chapter 11

Debtor.
DECLARATION OF RANDY
SUGARMAN [N SUPPORT OF
OBJECTI()N TO CLAIMS WITH NO
LIABILITY BY THE ESTATE

[No Hearing Unless Requested.]

 

 

I, Randy Sugarman, declare as follows:

1. l am the liquidating Trustee of the bankruptcy estate (the “Estate”) of YelloW
Cab Cooperative, lnc., the debtor in the above-captioned Chapter ll case (the “Debtor”). I Was
appointed as Liquidating Trustee by this Court’s Order Confirming Joim‘ Plan ofReorganization
entered on May 24, 2018.

2. All statements in this declaration are based upon my review of the court and
business records in this case. If called to testify on this matter, l can and Would competently

testify to the matters set forth in this Declaration.

Sugarman Decl. ISO Objection to Clairns with No Liability by the Estate l
Case: 16-30063 Doc# 835 Filed: 10/31/18 Entered: 10/31/18 07:53:08 Page 1 of 3

 

3.

l have identified five claims filed and scheduled in this bankruptcy case for Which

the Debtor’s records reflect no such liability as owing (the “Disputed Clairns”). The disputed

claims are as follows:

 

Exhibit

Clairn
No_

Clain:lant

Date Filed

Amount
Asserted

Notes and Additional
Objections

 

A

Sch. F
3 .38

|brar Anmed

N/A

$132,206.73

Scheduled as a general
unsecured claim for "trade”
incurred 1/21/16; No
additional information in
Debtor's records

 

292

.lohn W. DeRoy
Chiropractic
Corporation

5/20/17

$3,585-00

For treatment rendered to
personal injury claimant Paula
Grifl'”in between 9/22/14 and
4/20/15; Griflin tiled POC 277;
Court entered order approving
stipulation settling POC 277 on
3/13/18 [Dkt. No. 741].

 

381

Sufyan Alsharif

12/'23/17

550,000.00

Dup|icate of POC 383; Basis
alleged is “overcharged gate
fees and illegal tips” for N|ay
2011 - june 2013; inadequate
supporting documentation to
establish a claim; Late-tiled

 

382

Ziad Sacl

12/23/1 7

$10,000.00

Basis alleged is "overcharged
gate fees and illegal tips" for
Niay 2011 - |Vlarch 2012;
Inadequate supporting
documentation to establish a
claim; Late-filed

 

 

 

383

 

Sufyan Alsharlf

 

12/23/17

 

$10,000.00

 

No supporting documentation ;
tate-filed

 

4.

Although scheduled as a general unsecured clairn, l have been unable to find a

record of or basis for the 3132,206.73 general unsecured claim attributed to lbrar Ahrned in

Schedule F.

5.

Claim No. 292 is asserted by a chiropractor Who treated a third-party, Paula

Grif`Hn, Who asserted a personal injury claim against the Debtor arising from an accident

occurring on August lS, 2014. MS- Griflin’s claim against the bankruptcy estate was settled and

the Court entered an order approving the stipulation resolving all of` Ms. Griffin claims on March

13, 2018. [Dkt. No. 741]. Any claims for payment that John W. DeRoy Chiropractic

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Corporation may have are solely against Ms. Griflin and the estate has no independent liability
for Ms. Griliin’s treatment Further, Ms. Grif`iin released all claims against the estate arising
from the accident as part of her stipulation with the Chapter ll 'l`rustee.

6. Claim No. 381 is a duplicate of Claim No. 383, both by Sut`yan Alsharif. lt
appears as though Mr. Alsharif attempted to amend his claim, but Was instead allocated another
Claim Number. For this reason, Claim No. 381 should be disallowed as a duplicate Sincc
Claim No. 383 does not contain any supporting documentation and Claim No. 381 did have an
attachment, both Claim Nos. 381 and 383 are being addressed together.

7. Claim Nos. 381, 332 and 383 were all filed by the same attorney on December 23,
201?l and all allege claims based on “overcharged gate fees and illegal tips” for drivers driving
for the Debtor between May 2011 and lone 2013. The only supporting documentation provided
for these claims are hand-written logs. Such logs are insufficient to establish a valid claim
against the estate and represent, at best, the claimants’ unpursued grievance against the estate.
Fl`he Debtor’s records do not reflect any amounts owing to either Sut`yan Alsharif or Ziad Sad.
Further, if Alsharif or Sad did have a valid claim against the estate it Would necessarily by a pre-
petition unsecured claim, based upon the basis alleged, and subject to the May 16, 2016 Claims
Bar Date widely publicized in this case.

S. For all of these reasons, l request that the Disputed Clairns be disallowed in their

entirety

l declare under penalty of perjury under that laws of the State of` California that the

foregoing is true and correct, and that this Declaration is executed on October -§j__, 2018 in

M//
easy

Sonoma, California

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